
MOORE, Judge,
concurring in part and dissenting in part.
I concur in all aspects of the main opinion except Part VI, which discusses the former husband’s alimony-arrearage-payment schedule. I conclude that, if military-disability income cannot be considered when awarding alimony, it similarly cannot be considered as income accessible to cure an alimony arrearage. Because I believe the decision in Ex parte Billeck, 111 So.2d 105 (Ala.2000), the case cited by the former husband, supports my conclusion, I conclude that Rule 28, Aa. R.App. P., does not apply to that issue. Therefore, I dissent to the main opinion’s disposition in Part VI.
PITTMAN, J., concurs.
